                    Case 1:22-cv-00100-MW-GRJ Document 1-3 Filed 05/09/22 Page 1 of 2

                                              Incident Detail Report
                                                       Data Source: Data Warehouse
                                                          Incident Status: Closed
                                                        Incident number: 050622-0274
                                                               Case Numbers:
                                                       Incident Date: 5/6/2022 09:27:31


Incident Information
 Incident Type:                     NO RESPONSE                           Alarm Level:
Priority:                           7                                     Problem:                      Message
Determinant:                                                              Agency:                       LAW
Base Response#:                                                           Jurisdiction:                 GPD
Confirmation#:                                                            Division:                     GPD DISTRICT 2
Taken By:                           Davidson, Ashley                      Battalion:                    GPD Zone I
Response Area:                      GI 3                                  Response Plan:
Disposition:                        N-ADVICE/ASSISTANCE GIVEN             Command Ch:
Cancel Reason:                                                            Primary TAC:
Incident Status:                    Closed                                Secondary TAC:
Certification:                                                            Delay Reason (if any):


Incident Location
 Location Name:                    Gainesville Police Department       County:                        ALACHUA
 Address:                          545 Nw 8th Av                       Location Type:                 LAW ENFORCEMENT FACILITY
Apartment:                                                             Cross Street:                  NW 4TH ST/NW 6TH ST
Building:                                                              Map Reference:
City, State, Zip:                  GAINESVILLE FL 32601


Supplemental Information - Person
Caller Name:                    OLIVER, ERIC
Method Received:                                                        Call Back Phone:                317-932-6376
Caller Type:                                                            Caller Location:
Caller Address:                                                         Caller Location Phone:
Caller Building:                                                        Caller Apartment:
Caller City, State, Zip:                                                Caller County:


Time Stamps                                                            Elapsed Times
        Primary                                                                                 Odm.    Odm. Cancel
Unit    Flag    Assigned Disposition                            Enroute Staged Arrived Complete Enroute Arrived Reason
GS335 Y             09:33:12   N-ADVICE/ASSISTANCE GIVEN                                   10:53:25

Personnel Assigned
Unit          Name
GS335         Schramek, David (0335G)

Caution Notes
Date       Time         User             Comments
5/6/2022   08:12:33     1331A           [2] [Appended, 10:07:33] [1] REF IONC# 050522-1020, S50C
                                        [3] [Appended, 10:07:33] [2] LOC IS STILL HARASSING COMP ABOUT HAVING HIS
5/6/2022   08:12:54     1331A
                                        SERVICE DOG AT LOC
                                        [4] [Appended, 10:07:33] [3] NEEDS LEO TO COME OUT AND EXPLAIN THE SERVICE
5/6/2022   08:13:09     1331A
                                        DOG LAWS TO THE LOC
                                        [5] [Appended, 10:07:33] [4] COMP ADV THE EMPL'S DONT UNDERSTAND IT IS A STATE
5/6/2022   08:13:48     1331A
                                        STATUTE



                    Alachua County Sheriff's Office / Combined Communications Center                                     Page 1 of 2
                Case 1:22-cv-00100-MW-GRJ Document 1-3 Filed 05/09/22 Page 2 of 2
                                    [6] [Appended, 10:07:33] [5] PER PREVIOUS INC, COMPS DOG IS COVERED UNDER
5/6/2022   08:14:18   1331A
                                    F.S.S. 413.08 (a)
5/6/2022   08:14:38   1331A         [7] [Appended, 10:07:33] [6] COMP DOB 12/2/86
5/6/2022   08:15:16   1331A         [8] [Appended, 10:07:33] [7] 54/29 PL
5/6/2022   08:47:14   1907A         [9] [Appended, 10:07:33] [8] COMP CB REF T/L
5/6/2022   09:01:24   1331A         [10] [Appended, 10:07:33] [9] COMP CB REF TL
5/6/2022   09:02:02   1331A         [11] [Appended, 10:07:33] [10] ADV THE LOC IS WANTING HIM TO LEAVE
5/6/2022   09:03:46   1331A         [12] [Appended, 10:07:33] [11] +
                                    [13] [Appended, 10:07:33] [12] COMP REQ 1025 AT GRACE, WILL CB WHEN OS....WILL
5/6/2022   09:04:15   1331A
                                    ALLOW A CB BY LEO IN THE MEANTIME
5/6/2022   09:10:42   0188A         [14] [Appended, 10:07:33] [13] *************** C4 S335
5/6/2022   09:11:45   0188A         [15] [Appended, 10:07:33] [14] ****** REF LINE 12 GPD FDSK CALL THE COMPL
5/6/2022   09:20:55   0429A         [16] [Appended, 10:07:33] [15] Duplicate call appended to incident at 09:20:55
                      Parmentier,
5/6/2022   09:23:33                 [17] [Appended, 10:07:33] [16] Waiting on call back from Comp
                      Walter
5/6/2022   09:27:39   1578A         [1] SERVICE INQUIRY
5/6/2022   10:07:33   1308A         [18] Dispatcher Appended [050622-0227] to this incident
5/6/2022   10:07:33   1308A         [19] LINK: [] to [050622-0274] because [050622-0227] appends to [050622-0274]
5/6/2022   10:07:33   1308A         [20] LINK: [050622-0227] to [050622-0274] because [050622-0227] appends to [050622-0274]
                                    [21] Secondary Location for GS335: St Francis House, 413 S MAIN ST,GAINESVILLE, FL
5/6/2022   10:07:55   1636A
                                    32601.




                 Alachua County Sheriff's Office / Combined Communications Center                                       Page 2 of 2
